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                        UNITED STATES DISTRICT COURT

                               DISTRICT OF OREGON



 UNITED STATES OF AMERICA,                                         3:14-CR-00282-KI-02

      v.                                             NOTICE OF SATISFACTION OF
                                                             MONEY JUDGMENT
 KYLE KEOKI YAMAGUCHI,

           Defendant.


      NOTICE IS HEREBY GIVEN that defendant Kyle Keoki Yamaguchi, has

voluntarily paid $50,000 to the United States toward his obligation pursuant to the

Preliminary Order of Forfeiture and Final Order of Forfeiture and Money Judgment

filed on December 24, 2014 (CR 44). The money judgment in this case as to Defendant

Yamaguchi, having been paid in full, is now satisfied.

      DATED this 2nd day of March, 2015.

                                             S. AMANDA MARSHALL
                                             United States Attorney
                                             s/ Katie Lorenz
                                             KATHERINE C. LORENZ
                                             Assistant United States Attorney
